       Case 1:15-cv-07433-LAP Document 1090-3 Filed 07/30/20 Page 1 of 4




                                   United States District Court
                                  Southern District of New York

Virginia L. Giuffre,

                 Plaintiff,                     Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

             Defendant.
______________________________/

         DECLARATION OF SIGRID S. McCAWLEY IN SUPPORT OF
 PLAINTIFF’S REPLY IN SUPPORT OF HER MOTION TO COMPEL DEFENDANT
        TO ANSWER DEPOSITION QUESTIONS FILED UNDER SEAL

           I, Sigrid S. McCawley, declare that the below is true and correct to the best of my

knowledge as follows:

           1.    I am a partner with the law firm of Boies, Schiller & Flexner LLP and duly

 licensed to practice in Florida and before this Court pursuant to this Court’s September 29,

 2015 Order granting my Application to Appear Pro Hac Vice.

           2.    I respectfully submit this Declaration in support of Plaintiff’s Reply in Support of

 her Motion to Compel Defendant To Answer Deposition Questions Filed Under Seal.

           3.    Attached hereto as Exhibit 1, is a true and correct copy of Excerpts from the

 April 22, 2016 Deposition Transcript of Ghislaine Maxwell.

           4.    Attached hereto as Composite Exhibit 2, are true and correct copies of the Flight

 Logs of Jeffrey Epstein’s private planes and summary charts.

           5.    Attached hereto as Exhibit 3, is a true and correct copy of the Palm Beach Police

 Report.
     Case 1:15-cv-07433-LAP Document 1090-3 Filed 07/30/20 Page 2 of 4




       6.    Attached hereto as Exhibit 4, are true and correct copies of Excerpts from the

July 29, 2009 Deposition Transcript of Alfredo Rodriguez.

       7.    Attached hereto as Exhibit 5, is a true and correct copy of Excerpts from Juan

Alessi’s November 21, 2005 Sworn Statement.

       8.    Attached hereto as Exhibit 6, is a true and correct copy of Excerpts from the

September 8, 2009 Deposition Transcript of Juan Alessi.

       9.    Attached hereto as Exhibit 7, is a true and correct copy of Excerpts from the

August 7, 2009 Deposition Transcript of Alfredo Rodriguez.


       I declare under penalty of perjury that the foregoing is true and correct.



                                                      /s/ Sigrid S. McCawley_________
                                                      Sigrid S. McCawley, Esq.
        Case 1:15-cv-07433-LAP Document 1090-3 Filed 07/30/20 Page 3 of 4




Dated: May 11, 2016.

                                                          Respectfully Submitted,

                                                          BOIES, SCHILLER & FLEXNER LLP

                                                      By: /s/ Sigrid McCawley________________
                                                         Sigrid McCawley (Pro Hac Vice)
                                                         Boies, Schiller & Flexner LLP 401 E.
                                                         Las Olas Blvd., Suite 1200 Ft.
                                                         Lauderdale, FL 33301
                                                         (954) 356-0011

                                                          David Boies
                                                          Boies, Schiller & Flexner LLP 333
                                                          Main Street
                                                          Armonk, NY 10504

                                                          Bradley J. Edwards (Pro Hac Vice)
                                                          FARMER, JAFFE, WEISSING,
                                                          EDWARDS, FISTOS & LEHRMAN, P.L.
                                                          425 North Andrews Avenue, Suite 2
                                                          Fort Lauderdale, Florida 33301
                                                           (954) 524-2820

                                                          Paul G. Cassell (Pro Hac Vice)
                                                          S.J. Quinney College of Law
                                                          University of Utah
                                                          383 University St.
                                                          Salt Lake City, UT 84112
                                                          (801) 585-52021




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 This daytime business address is provided for identification and correspondence purposes only and is
not intended to imply institutional endorsement by the University of Utah for this private representation.
       Case 1:15-cv-07433-LAP Document 1090-3 Filed 07/30/20 Page 4 of 4




                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on May 11, 2016, I electronically filed the foregoing

document with the Clerk of Court by using the CM/ECF system. I also certify that the foregoing

document is being served this day on the individuals identified below via transmission of

Notices of Electronic Filing generated by CM/ECF.


       Laura A. Menninger, Esq.
       Jeffrey Paliuca, Esq.
       HADDON, MORGAN & FOREMAN, P.C.
       150 East 10th Avenue
       Denver, Colorado 80203
       Tel: (303) 831-7364
       Fax: (303) 832-2628
       Email: lmenninger@hmflaw.com
               jpagliuca@hmflaw.com

                                                        /s/ Sigrid S. McCawley
                                                        Sigrid S. McCawley, Esq.
